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 5
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 6 United States of America

 7
                                     IN THE UNITED STATES DISTRICT COURT
 8
                                         EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,                                  CASE NO. 2:12-CR-0255 GEB
11
                                       Plaintiff,               STIPULTATION CONTINUING MOTIONS
12                                                              SCHEDULE; ORDER
                               v.
13
     LYNN SMITH,                                                Hearing: March 18, 2016 @ 9:00 a.m.
14
                                                                Courtroom No.: 10
15
                                       Defendant.
                                                                [Hearing Date Not Impacted]
16

17           Counsel for the government needs a few additional days to complete its response to the
18 defendant’s motion to reduce sentence pursuant to 18U.S.C. § 3582()(2), because of unanticipated

19 complications in preparing the response. Defense counsel has no objection to the request. Therefore, it

20 is hereby agreed between counsel for the parties, that the motions schedule is altered as follow:

21            EVENT                           OLD DATE                            NEW DATE

22            Government’s response           March 3, 2016                       March 7, 2016

23            Defense reply                   March 8, 2016                       March 11, 2016

24            Hearing                         March 18, 2016 at 9:00 a.m.         Unchanged

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26           //
27           //
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     Stipulation for continuance of schedule on                 1
     resentencing motion
30
               Case 2:12-cr-00255-TLN Document 143 Filed 03/04/16 Page 2 of 2


 1 [Stipulation for continuance of schedule on resentencing motion (cont.)]

 2
     Dated: March 3, 2016                              BENJAMIN B. WAGNER
 3
                                                       United States Attorney
 4
                                                       by /s/ Richard J. Bender
 5                                                     RICHARD J. BENDER

 6

 7
     Dated: March 3, 2016                              /s/ Hannah R. Labaree (by RJB)
 8                                                     HANNAH R. LABAREE
                                                       Counsel for Lynn Smith
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10
                                                  ORDER
11

12 It is so ORDERED,

13
     Dated: March 4, 2016
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     Stipulation for continuance of schedule on        2
     resentencing motion
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